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EXHIBIT A
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AO 136 (Rev. 10/13) Certificate of Good Standing

UNITED STATES DISTRICT COURT
for the
Eastern District of New York

CERTIFICATE OF GOOD STANDING

L Brenna B. Mahoney , Clerk of this Court,
certify that Tor Bernhard Ekeland Bar TE1969
was duly admitted to practice in this Court on 04/21/2008 , and is in good standing as a member
of the Bar of this Court.
Dated at Brooklyn on 02/23/2022

(Location) (Date)
Brenna B. Mahoney David Afrani
CLERK OF COURT
Deputy Clerk

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